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                Conditional Transfer Order (CTO 53) MDL 2804
                                    InterdistrictTransfer_AZD,
                OHNDdb_MDL to: InterdistrictTransfer_FLMD,                                09/12/2018 08:04 AM
                                    InterdistrictTransfer_IDD,
                Sent by: Robert T Pitts

Greetings

Attached is a certified copy of the Transfer Order from the Judicial Panel on Multidistrict Litigation
directing the transfer of actions listed to the Northern District of Ohio.

When the case has been closed in your district please:

1. Initiate the civil case transfer functionality in CM/ECF.
2. Choose court Ohio Northern.

After completion of this process the NEF screen will display the following message:

 Sending email to InterdistrictTransfer OHND@ohnd.uscourts.gov

 If this is not displayed, we have not received notice.

 We will initiate the procedure to retrieve the transferred case upon receipt of the email.

If your court does not utilize the CM/ECF transfer functionality, please contact me at
mdl@ohnd.uscourts.gov
and the documents will be retrieved using PACER.



2804 Certified CTO 53.pdf
